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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

UNITED STATES OF AMERICA                        §
                                                §
v.                                              §     CASE NO. 2:16-CR-3-1 -JRG-RSP
                                                §
JASON LEWIS HEARD                               §

              ORDER ADOPTING MAGISTRATE JUDGE=S REPORT AND
                       FINDING DEFENDANT GUILTY
                       PURSUANT TO RULE 11 (c)(1)(C)

       On this day, the Court considered the Findings of Fact and Recommendation of United

States Magistrate Judge Roy S. Payne regarding defendant=s plea of guilty under the provisions

of Rule 11(c)(1)(C) to Count 1 of the indictment charging defendant with a violation of 21

U.S.C. ' 841(a)(1), possession with intent to distribute methamphetamine. Having conducted a

proceeding in the form and manner prescribed by FED. R. CRIM P. 11, the Magistrate Judge

recommends that the Court accept the defendant=s guilty plea, reserving to the District Judge the

option of rejecting the Plea Agreement if, after review of the presentence report, the agreed

sentence is determined not to be the appropriate disposition of the case. The parties waived their

right to file objections to the Findings of Fact and Recommendation. The Court is of the opinion

that the Findings of Fact and Recommendation should be accepted.

       It is accordingly ORDERED that the Findings of Fact and Recommendation of the

United States Magistrate Judge, filed on July 15, 2016 are hereby ADOPTED.

       It is further ORDERED that, pursuant to defendant=s plea agreement, the Court finds

defendant GUILTY of Count 1 of the indictment in the above-numbered cause, reserving to the

District Judge the option of rejecting the Plea Agreement if, after review of the presentence

report, the agreed sentence is determined not to be the appropriate disposition of the case.
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So Ordered this
Aug 2, 2016




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